The respondent, Lester Rachels, sustained an accidental injury while in the employ of Fred Clayton, who was operating a coal mine near Tahona, Okla., under a contract with the Tahona Smokeless Coal Company, the owner of said mine.
After a hearing, the State Industrial Commission found that Rachels was in the employ of Clayton; that Clayton was a lessee or subcontractor of the Tahona Smokeless Coal Company; that said company had failed to require a compliance with the Workmen's Compensation Law on the part of Clayton; that Clayton had failed to secure the payment of compensation as required by law; that Clayton was, therefore, primarily liable to Rachels for compensation and that the Tahona Smokeless Coal Company was secondarily liable for such compensation, from which finding and award the coal company brings the case here for review.
The same contentions are here made as were made in cause No. 18598, Tahona Smokeless Coal Company v. State Industrial Commission and F. E. Barclay, the opinion of which has this day been filed, and said decision is decisive of the issues herein presented, and the syllabus in that case is adopted as the syllabus in this case.
The award of the State Industrial Commission is, therefore, affirmed.
BRANSON, C. J., and HARRISON, LESTER, HUNT, CLARK, RILEY, and HEFNER, JJ., concur.